                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


In re:                                       :        Chapter 11
                                             :
Pocono Mountain Lake Forest                  :        Case No. 5:22–00481-MJC
Community Assn, Inc.,                        :
           Debtor.                           :



                                 ORDER DISMISSING CASE

         Upon consideration of the Debtor’s Oral Motion to Voluntarily Dismiss the above-

captioned case made at a hearing held June 2, 2022, it is hereby

         ORDERED that the case is DISMISSED, and it is hereby

         FURTHER ORDERED that the Court retains jurisdiction in this case for the limited

purpose of considering any application for administrative expense to be filed within thirty (30)

days of the date hereof and any responses thereto.




                                                     By the Court,



                                                     _____________________________
                                                     Mark J. Conway, Bankruptcy Judge
                                                     Dated: June 2, 2022




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